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 4 Telephone: (916) 554-2700
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,              )   Case No. 2:11-cr-00216-MCE
10                                          )
                   Plaintiff,               )   STIPULATION AND ORDER
11                                          )   CONTINUING STATUS CONFERENCE
          v.                                )   AND EXCLUDING TIME FOR PURPOSES
12                                          )   OF THE SPEEDY TRIAL ACT WITH
     DESHAWN RAY,                           )   RESPECT TO DEFENDANTS RAY AND
13   DAMION EDGERSON, and                   )   THOMAS
     REGINALD THOMAS                        )
14                                          )
                   Defendants.              )
15                                          )

16
          Plaintiff United States of America, by and through Assistant
17
     United States Attorney Matthew Morris and Defendants, Deshawn Ray, by
18
     and through his attorney, Julius Engel, and Reginald Thomas, by and
19
     through his attorney Colin Cooper, hereby stipulate as follows:
20
          The parties agree that the status conference scheduled for
21
     December 6, 2012, be continued to January 31, 2013.          The parties
22
     request the continuance based upon the following facts, which the
23
     parties believe demonstrate good cause to support the appropriate
24
     findings under the Speedy Trial Act:
25
          Defendants Ray and Thomas are reviewing discovery and
26
     investigating the case, and are in discussions with the United States
27
     regarding potential resolution of the case without trial.
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 1        The government will require time to consider information not
 2 previously available to it before being able to determine whether
 3 that information affects the position the government would take in
 4 resolving the case or proceeding to trial.
 5        The requested continuance is not based on congestion of the
 6 Court’s calendar, lack of diligent preparation on the part of the
 7 attorney for the government or the defense, or failure on the part of
 8 the attorney for the government to obtain available witnesses.
 9        For purposes of computing the date under the Speedy Trial Act by
10 which defendant’s trial must commence, the parties agree that the
11 time period of December 6, 2012, to January 31, 2013, inclusive,
12 should be excluded pursuant to 18 U.S.C. Section 3161 because:
13        Under 18 U.S.C. Section 3161(h)(7)(B)(iv) and local code T4, the
14 delay results from a continuance granted by the Court at the
15 defendant’s request, with the agreement of the government, on the
16 basis of the Court’s finding that: (i) the delay will allow defense
17 counsel reasonable time to prepare; and (ii) the ends of justice
18 served by the continuance outweigh the best interest of the public
19 and defendant in a speedy trial.
20
21 IT IS SO STIPULATED.
22                               /s/ Matthew Morris
     DATED: December 4, 2012     MATTHEW G. MORRIS
23                               Assistant United States Attorney
24
                                 /s/ Julius Engel, (as authorized 11/30/12)
25 DATED: December 4, 2012       JULIUS ENGEL
                                 Attorney for DESHAWN RAY
26
27                               /s/ Colin Cooper, (as authorized 11/30/12)
     DATED: December 4, 2012     COLIN COOPER
28                               Attorney for REGINALD THOMAS

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 1                                        ORDER
 2       IT IS SO FOUND AND ORDERED.        The status conference currently
 3 scheduled for December 6, 2012, is continued to January 31, 2013, at
 4 9 a.m.     The time period December 6, 2012 and January 31, 2013 is
 5 excluded under Local Code T4.
 6
     Dated: December 6, 2012
 7
 8                                        _____________________________
 9                                        MORRISON C. ENGLAND, JR.
                                          UNITED STATES DISTRICT JUDGE
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